537 F.2d 326
    In the Matter of H. Peter YOUNG, Esq., Respondent.UNITED STATES of America, Plaintiff-Appellee,v.Frank Stearns GIESE, Defendant-Appellant.UNITED STATES of America, Plaintiff-Appellee,v.Raymond EAGLIN, Defendant-Appellant.
    Nos. 74-3407 and 75-2720.
    United States Court of Appeals,Ninth Circuit.
    March 9, 1976.
    
      Before CARTER, WRIGHT and GOODWIN, Circuit Judges.
    
    
      1
      Attorney H. Peter Young of Venice, California, has been before this court on January 8, 1976, and March 9, 1976, having been ordered to show cause why penalties should not be imposed for his failure to prosecute the appeals in two criminal causes, in each of which he was acting as counsel or co-counsel.  See In Matter of Young, Esq., --- F.2d ---- (9th Cir. 1976).  His derelictions have contributed to the ultimate dismissal of the appeals in both matters.1  His conduct throughout the history of the two cases demonstrates that he lacks the professional qualifications and integrity which are requisite in attorneys who practice in the federal courts.
    
    
      2
      IT IS ORDERED that H. Peter Young be disbarred from further practice before this court and that his name be stricken from the roll of attorneys.
    
    
      
        1
         Orders of Dismissal, United States v. Giese, Docket No. 74-3407 (9th Cir.  Mar. 9, 1976); United States v. Eaglin, Docket No. 75-2720 (9th Cir.  March 9, 1976)
      
    
    